Case 1:18-cv-00612-JTN-ESC ECF No. 1 filed 06/01/18 PageID.1 Page 1 of 8
Case 1:18-cv-00612-JTN-ESC ECF No. 1 filed 06/01/18 PageID.2 Page 2 of 8
Case 1:18-cv-00612-JTN-ESC ECF No. 1 filed 06/01/18 PageID.3 Page 3 of 8
Case 1:18-cv-00612-JTN-ESC ECF No. 1 filed 06/01/18 PageID.4 Page 4 of 8
Case 1:18-cv-00612-JTN-ESC ECF No. 1 filed 06/01/18 PageID.5 Page 5 of 8
Case 1:18-cv-00612-JTN-ESC ECF No. 1 filed 06/01/18 PageID.6 Page 6 of 8
Case 1:18-cv-00612-JTN-ESC ECF No. 1 filed 06/01/18 PageID.7 Page 7 of 8
Case 1:18-cv-00612-JTN-ESC ECF No. 1 filed 06/01/18 PageID.8 Page 8 of 8




                                                    -= -­
